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4
     Attorney for Defendant
     Gabriel Viramontes
5
                          UNITED STATES DISTRICT COURT
6
                         EASTERN DISTRICT OF CALIFORNIA
7

8
     UNITED STATES OF AMERICA         )
9                                     )         No. Cr.S-07-432 EJG
                     Plaintiff        )
10                                    )
               vs.                    )         REQUEST TO WITHDRAW RULE 12
                                      )         MOTION TO SUPPRESS
11                                    )         STATEMENTS;
     GABRIEL RICHARD VIRAMONTES       )         (PROPOSED) ORDER
12                                    )
                                      )
13                                    )
                     Defendant        )
14                                    )

15
          On February 6, 2010, defendant in the above captioned
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     matter filed a Rule 12 Motion to Suppress Statements. This Court
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     scheduled an evidentiary hearing to be had on March 26, 2010.
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          On March 23, 2010 Government counsel Mathew Stegman stated
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     to the undersigned that that the Government would use Mr.
20
     Viramonte’s statements only for impeachment purposes in the
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     event Mr. Viramontes testifies at trial. On March 24, 2010, the
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     Government, through its counsel, Mathew Stegman, filed a
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     memorandum informing the Court that it would not introduce
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     defendant’s statements in its case-in-chief.
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1         Based on the government’s representations, Mr. Viramontes
2    withdraws as moot his Rule 12 Motion to Suppress Statements
3    scheduled for March 26, 2010 at 11:00 AM.
4

5    DATED: March 24, 2010            Respectfully submitted,
6

7                                     /S/MICHAEL B. BIGELOW
                                      Michael B. Bigelow
8                                     Attorney for Defendant Viramontes
9
                                ORDER (Proposed)
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11

12   IT IS SO ORDERED

13
     DATED: March 24, 2010                    /s/ Edward J. Garcia
14                                            Hon. Edward J. Garcia, Jr.
                                              Judge, U.S. District Court
15                                            Eastern District, California

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